              Case 3:23-cr-00258-JSC Document 44 Filed 03/21/24 Page 1 of 1
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                                                                                                                      Mar 21 2024


                                                                                                               CLERK, U.S. DISTRICT COURT
                                      PROPOSED ORDER/COVER SHEET                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                    SAN FRANCISCO

TO:             Honorable Thomas S. Hixson                            RE:     Aubrey Jackson Shelton II
                U.S. Magistrate Judge

FROM:           Silvio Lugo, Chief                                    Docket No.:        3:23-cr-00258-1
                U.S. Pretrial Services Officer

Date:           3/21/24

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

         Timothy Elder                                                             (415(436-7519

         U.S. Pretrial Services Officer                                      TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

         I have reviewed the information that you have supplied. I do not believe that this matter requires any
         action by this Court at this time.

         Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
         ____________________ on ____________________ at ____________________.

         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

         I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
         Pretrial Release conditions as indicated below:

         Modification(s)

         A.       Added: The defendant shall participate in residential treatment at New Bridge Foundation, and
                  shall comply with the rules and policies of the program.

         Bail Revoked/Bench Warrant Issued.

         I am returning the signed order and direct that a copy be provided to the Court file and all interested
         parties(AUSA and Defense Counsel).

         Other Instructions:

         _________________________________________________________________________________

         _________________________________________________________________________________

         _________________________________________________________________________________


                                                                   March 21, 2024
         JUDICIAL OFFICER                                     DATE

         Hon. Thomas S. Hixson
         U.S. Magistrate Judge
